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                                                                                    May 25, 2022

                                                                               CLERK, U.S. DISTRICT COURT
                        IN THE UNITED STATES DISTRICT COURT                    WESTERN DISTRICT OF TEXAS
                         FOR THE WESTERN DISTRICT OF TEXAS                         By:        SAJ
                              MIDLAND/ODESSA DIVISION
                              Midland-Odessa                                                        Deputy


 UNITED STATES OF AMERICA                                           Cause No.:         7:22-CR-00121


        Plaintiff
                                                    INDICTMENT
 v

  1 TRAVIS SULLIVAN                                 COUNT 1: 21 U.S.C. § 841(a)(1) and 846 -
  2 MARK HODGE                                      Controlled Substances – Conspiracy toPossess with Intent to Di

        Defendants



THE GRAND JURY CHARGES:

                                        COUNT ONE
                        [21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846]

       Beginning on or about April 1, 2022 and continuing until on or about April 25, 2022, in

                                              Defendants,

                                  (1) TRAVIS SULLIVAN and
                                      (2) MARK HODGE,


did; combine, conspire, confederate and agree together, with each other, and with other persons

known and unknown to the Grand Jury, to knowingly and intentionally possess with intent to

distribute a controlled substance, which offense involved 50 grams or more of actual

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(A) and 846.

                                                     A TRUE BILL



                                                     FOREPERSON




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ASHLEY C. HOFF
United States Attorney

By:
      Brandi Young
      Assistant United States Attorney




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